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                                  IN THE UNITED STATES DISTRICT COURT
                               FOR THE WESTERN DISTRICT OF PENNSYLVANIA

JANINE DONALDSON and                                  Civil Action No. 3:15-cv-63-KRG
KIMBERLY MCKENZIE,
                                                      JUDGE KIM R. GIBSON
                             Plaintiffs,

                      v.                              Electronically Filed

RONALD LENSBOUER and
SOMERSET COUNTY,

                             Defendants.              JURY TRIAL DEMANDED


                            DEFENDANT’S PROPOSED SPECIAL VERDICT FORMS

      PROPOSED SPECIAL VERDICT FOR CLAIMS BY PLAINTIFF JANINE DONALDSON AGAINST
                                  SOMERSET COUNTY

               AND NOW, on this ______ day of _______________________, 2017, we the jurors

impaneled in the above-captioned case find:

Janine Donaldson v. Somerset County
Title VII

(1)            Did Janine Donaldson prove by a preponderance of the evidence that she was subjected
               to verbal and physical harassment by Ronald Lensbouer?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 1, PROCEED TO QUESTION 2. IF YOU ANSWERED “NO”
TO QUESTION 1, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(2)            Did Janine Donaldson prove by a preponderance of the evidence the conduct by Ronald
               Lensbouer was not welcomed?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 2, PROCEED TO QUESTION 3. IF YOU ANSWERED “NO”
TO QUESTION 2, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.




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(3)            Did Janine Donaldson prove by a preponderance of the evidence that the conduct by
               Ronald Lensbouer was motivated by her gender?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 3, PROCEED TO QUESTION 4. IF YOU ANSWERED "NO''
TO QUESTION 3, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(4)            Did Janine Donaldson prove by a preponderance of the evidence Ronald Lensbouer’s
               conduct was severe and pervasive from the point of view of a reasonable woman?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 4, PROCEED TO QUESTION 5. IF YOU ANSWERED "NO''
TO QUESTION 4, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(5)            Did Janine Donaldson prove by a preponderance of the evidence that Somerset County
               or its management level employee knew or should have known of Ronald Lensbouer’s
               conduct?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 5, PROCEED TO QUESTION 6,IF YOU ANSWERED "NO''
TO QUESTION 5, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(6)            Did Somerset County prove by a preponderance of the evidence that upon Janine
               Donaldson complaining of Ronald Lensbouer’s conduct, the conduct stopped?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 6, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY
ON THIS CLAIM. IF YOU ANSWERED “NO” TO QUESTION 6, PROCEED TO QUESTION 7.

(7)            Did Somerset County prove by a preponderance of the evidence that Somerset County
               established a policy against harassment on the basis of gender?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 7, PROCEED TO QUESTION 8. IF YOU ANSWERED “NO”
TO QUESTION 7, PROCEED TO QUESTION 12(A)




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(8)            Did Somerset County prove by a preponderance of the evidence that its policy against
               harassment on the basis of gender was communicated to its employees?

            Answer: Yes _____ No _____
IF YOU ANSWERED "YES'' TO QUESTION 8, PROCEED TO QUESTION 9. IF YOU ANSWERED "NO''
TO QUESTION 8, PROCEED TO QUESTION 12(A).

(9)            Did Somerset County prove by a preponderance of the evidence that its policy against
               harassment on the basis of gender provided a way for Janine Donaldson to make a claim
               of harassment to higher management?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 9, PROCEED TO QUESTION 10. IF YOU ANSWERED "NO''
TO QUESTION 9, PROCEED TO QUESTION 12(A).

(10)           Did Somerset County prove by a preponderance of the evidence that it took reasonable
               steps to correct the problem when raised by Janine Donaldson?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 10, PROCEED TO QUESTION 11. IF YOU ANSWERED
"NO'' TO QUESTION 10, PROCEED TO QUESTION 12(A).

(11)           Did Somerset County prove by a preponderance of the evidence that Janine Donaldson
               unreasonably failed to take advantage of the complaint procedure provided by
               Somerset County?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 11, YOU HAVE FOUND IN FAVOR OF SOMERSET
COUNTY ON THIS CLAIM. IF YOU ANSWERED “NO” TO QUESTION 7, PROCEED TO QUESTION
12(A).

(12)(A) Please state the amount that will fairly compensate Janine Donaldson for injury he
        actually sustained as a result of Somerset County’s conduct:

                             $______________________

IF YOU ANSWERED "$0'' TO QUESTION 12(A), PROCEED TO QUESTION 12 (B), OTHERWISE STOP.

(12)(B) Because we answered “$0” to Question 12(A),

                      Janine Donaldson is awarded nominal damages in the amount of $1.00.
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SO SAY WE ALL, this ___ day of __________, 2017.

Janine Donaldson v. Somerset County
Section 1983

(1)            Did Somerset County act under color of state law?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 1, PROCEED TO QUESTION 2. IF YOU ANSWERED “NO”
TO QUESTION 1, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(2)            Did Janine Donaldson prove by a preponderance of the evidence that her right to bodily
               integrity under the Fourteenth Amendment was violated?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 2, PROCEED TO QUESTION 3. IF YOU ANSWERED “NO”
TO QUESTION 2, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(3)            Did Janine Donaldson prove by a preponderance of the evidence that Somerset County
               or its policy makers inadequately trained or supervised employees with respect to the
               behavior complained of by Kimberly McKenzie?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 3, PROCEED TO QUESTION 4. IF YOU ANSWERED "NO''
TO QUESTION 3, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(4)            Did Janine Donaldson prove by a preponderance of the evidence that Somerset County
               or its policy makers acted with deliberate indifference to the fact that its inadequate
               training or supervision would obviously result in a violation of Kimberly McKenzie’s right
               to bodily integrity?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 4, PROCEED TO QUESTION 5. IF YOU ANSWERED "NO''
TO QUESTION 4, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.




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(5)            Did Janine Donaldson prove by a preponderance of the evidence that Somerset County
               or its policy makers’ inadequate training or supervision was the proximate cause of the
               violation of her right to bodily integrity?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 5, PROCEED TO QUESTION 6(A),. IF YOU ANSWERED
"NO'' TO QUESTION 5, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(6)(A) Please state the amount that will fairly compensate Janine Donaldson for injury she
       actually sustained as a result of Somerset County’s conduct:

                             $______________________

IF YOU ANSWERED "$0'' TO QUESTION 6(A), PROCEED TO QUESTION 6(B), OTHERWISE STOP.

(6)(B) Because we answered “$0” to Question 6(A),

                      Janine Donaldson is awarded nominal damages in the amount of $1.00.

SO SAY WE ALL, this ___ day of __________, 2017.


_______________ Foreperson




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      PROPOSED SPECIAL VERDICT FOR CLAIMS BY PLAINTIFF KIMBERLY MCKENZIE AGAINST
                                  SOMERSET COUNTY


               AND NOW, on this ______ day of _______________________, 2016, we the jurors

impaneled in the above-captioned case find:

Kimberly McKenzie v. Somerset County
Title VII

(1)            Did Kimberly McKenzie prove by a preponderance of the evidence that she was
               subjected to verbal and physical harassment by Ronald Lensbouer?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 1, PROCEED TO QUESTION 2. IF YOU ANSWERED “NO”
TO QUESTION 1, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(2)            Did Kimberly McKenzie prove by a preponderance of the evidence the conduct by
               Ronald Lensbouer was not welcomed?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 2, PROCEED TO QUESTION 3. IF YOU ANSWERED “NO”
TO QUESTION 2, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(3)            Did Kimberly McKenzie prove by a preponderance of the evidence that the conduct by
               Ronald Lensbouer was motivated by her gender?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 3, PROCEED TO QUESTION 4. IF YOU ANSWERED "NO''
TO QUESTION 3, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(4)            Did Kimberly McKenzie prove by a preponderance of the evidence Ronald Lensbouer’s
               conduct was severe and pervasive from the point of view of a reasonable woman?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 4, PROCEED TO QUESTION 5. IF YOU ANSWERED "NO''
TO QUESTION 4, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.



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(5)            Did Kimberly McKenzie prove by a preponderance of the evidence that Somerset County
               or its management level employee knew or should have known of Ronald Lensbouer’s
               conduct?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 5, PROCEED TO QUESTION 6,IF YOU ANSWERED "NO''
TO QUESTION 5, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(6)            Did Somerset County prove by a preponderance of the evidence that upon Kimberly
               McKenzie complaining of Ronald Lensbouer’s conduct, the conduct stopped?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 6, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY
ON THIS CLAIM. IF YOU ANSWERED “NO” TO QUESTION 6, PROCEED TO QUESTION 7.

(7)            Did Somerset County prove by a preponderance of the evidence that Somerset County
               established a policy against harassment on the basis of gender?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 7, PROCEED TO QUESTION 8. IF YOU ANSWERED “NO”
TO QUESTION 7, PROCEED TO QUESTION 12(A)

(8)            Did Somerset County prove by a preponderance of the evidence that its policy against
               harassment on the basis of gender was communicated to its employees?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 8, PROCEED TO QUESTION 9. IF YOU ANSWERED "NO''
TO QUESTION 8, PROCEED TO QUESTION 12 (A).

(9)            Did Somerset County prove by a preponderance of the evidence that its policy against
               harassment on the basis of gender provided a way for Kimberly McKenzie to make a
               claim of harassment to higher management?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 9, PROCEED TO QUESTION 10. IF YOU ANSWERED "NO''
TO QUESTION 9, PROCEED TO QUESTION 12(A).




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(10)           Did Somerset County prove by a preponderance of the evidence that it took reasonable
               steps to correct the problem when raised by Kimberly McKenzie?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 10, PROCEED TO QUESTION 11. IF YOU ANSWERED
"NO'' TO QUESTION 10, PROCEED TO QUESTION 12(A).

(11)           Did Somerset County prove by a preponderance of the evidence that Kimberly McKenzie
               unreasonably failed to take advantage of the complaint procedure provided by
               Somerset County?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 11, YOU HAVE FOUND IN FAVOR OF SOMERSET
COUNTY ON THIS CLAIM. IF YOU ANSWERED “NO” TO QUESTION 7, PROCEED TO QUESTION
12(A).

(12)(A) Please state the amount that will fairly compensate Kimberly McKenzie for injury he
        actually sustained as a result of Somerset County’s conduct:

                             $______________________

IF YOU ANSWERED "$0'' TO QUESTION 12(A), PROCEED TO QUESTION 12 (B), OTHERWISE STOP.

(12)(B) Because we answered “$0” to Question 12(A),

                      Kimberly McKenzie is awarded nominal damages in the amount of $1.00.

SO SAY WE ALL, this ___ day of __________, 2017.




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Kimberly McKenzie v. Somerset County
Section 1983

(1)            Did Somerset County act under color of state law?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 1, PROCEED TO QUESTION 2. IF YOU ANSWERED “NO”
TO QUESTION 1, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(2)            Did Kimberly McKenzie prove by a preponderance of the evidence that her right to
               bodily integrity under the Fourteenth Amendment was violated?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 2, PROCEED TO QUESTION 3. IF YOU ANSWERED “NO”
TO QUESTION 2, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(3)            Did Kimberley McKenzie prove by a preponderance of the evidence that Somerset
               County or its policy makers inadequately trained or supervised employees with respect
               to the behavior complained of by Kimberly McKenzie?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 3, PROCEED TO QUESTION 4. IF YOU ANSWERED "NO''
TO QUESTION 3, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(4)            Did Kimberly McKenzie prove by a preponderance of the evidence that Somerset County
               or its policy makers acted with deliberate indifference to the fact that its inadequate
               training or supervision would obviously result in a violation of Kimberly McKenzie’s right
               to bodily integrity?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 4, PROCEED TO QUESTION 5. IF YOU ANSWERED "NO''
TO QUESTION 4, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(5)            Did Kimberly McKenzie prove by a preponderance of the evidence that Somerset County
               or its policy makers’ inadequate training or supervision was the proximate cause of the
               violation of Kimberly McKenzie’s right to bodily integrity?

                      Answer: Yes _____ No _____



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IF YOU ANSWERED "YES'' TO QUESTION 5, PROCEED TO QUESTION 6(A),. IF YOU ANSWERED
"NO'' TO QUESTION 5, YOU HAVE FOUND IN FAVOR OF SOMERSET COUNTY ON THIS CLAIM.

(6)(A) Please state the amount that will fairly compensate Kimberly McKenzie for injury she
       actually sustained as a result of Somerset County’s conduct:

                          $______________________

IF YOU ANSWERED "$0'' TO QUESTION 6(A), PROCEED TO QUESTION 6(B), OTHERWISE STOP.

(6)(B) Because we answered “$0” to Question 6(A),

                    Kimberly McKenzie is awarded nominal damages in the amount of $1.00.

SO SAY WE ALL, this ___ day of __________, 2017.



_______________ Foreperson




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       PROPOSED SPECIAL VERDICT FOR CLAIM BY PLAINTIFF JANINE DONALDSON AGAINST
                                  RONALD LENSBOUER

               AND NOW, on this ______ day of _______________________, 2017, we the jurors

impaneled in the above-captioned case find:


Janine Donaldson v. Ronald Lensbouer


(1)            Was Ronald Lensbouer act under color of state law?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 1, PROCEED TO QUESTION 2. IF YOU ANSWERED “NO”
TO QUESTION 1, YOU HAVE FOUND IN FAVOR OF RONALD LENSBOUER ON THIS CLAIM.



(2)            Did Janine Donaldson prove by a preponderance of the evidence that Ronald Lensbouer
               violated her right to bodily integrity under the Fourteenth Amendment?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 2, PROCEED TO QUESTION 3(A). IF YOU ANSWERED
“NO” TO QUESTION 2, YOU HAVE FOUND IN FAVOR OF RONALD LENSBOUER ON THIS CLAIM.




(3)(A) Please state the amount that will fairly compensate Janine Donaldson for injury she
       actually sustained as a result of Ronald Lensbouer’s conduct:

                             $______________________

IF YOU ANSWERED "$0'' TO QUESTION 3(A), PROCEED TO QUESTION 3(B), OTHERWISE STOP.




(3)(B) Because we answered “$0” to Question 3(A),


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                    Janine Donaldson is awarded nominal damages in the amount of $1.00.

SO SAY WE ALL, this ___ day of __________, 2017.


_______________ Foreperson




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       PROPOSED SPECIAL VERDICT FOR CLAIM BY PLAINTIFF KIMBERLY MCKENZIE AGAINST
                                  RONALD LENSBOUER

               AND NOW, on this ______ day of _______________________, 2017, we the jurors

impaneled in the above-captioned case find:


Kimberly McKenzie v. Ronald Lensbouer


(1)            Was Ronald Lensbouer acting under color of state law?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 1, PROCEED TO QUESTION 2. IF YOU ANSWERED “NO”
TO QUESTION 1, YOU HAVE FOUND IN FAVOR OF RONALD LENSBOUER ON THIS CLAIM.




(2)            Did Kimberly McKenzie prove by a preponderance of the evidence that Ronald
               Lensbouer violated her right to bodily integrity under the Fourteenth Amendment?

                      Answer: Yes _____ No _____

IF YOU ANSWERED "YES'' TO QUESTION 2, PROCEED TO QUESTION 3(A). IF YOU ANSWERED
“NO” TO QUESTION 2, YOU HAVE FOUND IN FAVOR OF RONALD LENSBOUER ON THIS CLAIM.




(3)(A) Please state the amount that will fairly compensate Kimberly McKenzie for injury she
       actually sustained as a result of Ronald Lensbouer’s conduct:

                             $______________________

IF YOU ANSWERED "$0'' TO QUESTION 3(A), PROCEED TO QUESTION 3(B), OTHERWISE STOP.




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(3)(B) Because we answered “$0” to Question 3(A),

                    Kimberly McKenzie is awarded nominal damages in the amount of $1.00.

SO SAY WE ALL, this ___ day of __________, 2017.


_______________ Foreperson




                                               Respectfully submitted,

                                               JONESPASSODELIS, PLLC

                                               BY:     s/Jeffrey Cohen
                                                      JEFFREY COHEN, ESQUIRE
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                                                      Counsel for Defendant,
                                                      SOMERSET COUNTY




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                                         CERTIFICATE OF SERVICE

               The undersigned hereby certifies that a true and correct copy of the foregoing

document has been forwarded to all counsel of record by:

                                    _      U.S. First Class Mail, Postage Paid
                                  _____ Hand Delivery
                                  _____ Certified Mail, Return Receipt Requested
                                  _____ Facsimile Transmittal
                                  _____ UPS Delivery
                                     X     Electronic Filing/Service
at the following address:


                                     Benjamin D. Andreozzi, Esquire
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                                       Johnstown, PA 15901-2823
                                  (Counsel for Defendant, Ronald E. Lensbouer)




                                                    JONESPASSODELIS, PLLC


Date: November 21, 2017                              s/Jeffery Cohen
                                                    JEFFREY COHEN, Esquire
                                                    MARIE MILIE JONES, Esquire

                                                    Counsel for Defendant,
                                                    SOMERSET COUNTY



{W0128895.1}
